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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
    v.                                         )       USDC No. 22-cr-89 (APM)
                                               )
Nancy Barron, defendant.                       )

                                           ORDER

         Upon good cause shown in Defendant’s Unopposed Motion to Review Conditions of

Release, the lack of opposition from the United States, and on other evidence before the Court in

the record of the case, it is hereby

         ORDERED, this ____ day of _________________, 2022, that the firearms restriction

imposed on the defendant in the Pretrial Release Order (Doc. 7, page 2, ¶7(k)) is hereby vacated

so long as defendant provides verification to the Pretrial Services Agency of her compliance with

Indiana law, and it is further

         ORDERED, the restriction of the possession of other weapons or destructive devices

shall remain in effect.
                                       Amit Mehta          Digitally signed by Amit Mehta
                                                           Date: 2022.06.07 21:52:10 -04'00'

                                        ________________________________
                                        Hon. Amit P. Mehta
                                        United States District Judge
                                        United States District Court for the District of Columbia

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